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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


JOHN MILLER,
                                             Case No.      12-15441
             Plaintiff,
                                             HONORABLE AVERN COHN
v.

ASSET ACCEPTANCE, LLC, et al.,

              Defendant.
                                         /

                                      JUDGMENT

      For the reasons stated in the Memorandum and Order entered on May 24, 2013

judgment is entered in favor of defendant and against plaintiff and the case is DISMISSED.




                                         DAVID WEAVER

Dated: May 24, 2013                      By: s/Sakne Chami
                                               Deputy Clerk



I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, May 24, 2013, by electronic and/or ordinary mail.


                                         S/Sakne Chami
                                         Case Manager, (313) 234-5160
